              Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 1 of 9



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                                      EXHIBIT A
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     EXHIBITS | 1                                     SMITH LAW, LLC
                                                      4301 NE 4th St. PO Box 2767
                                                      Renton, WA 98059
                                                      Phone: (206) 715-4248
                                                      Fax: (250) 900-2664
                                                                                                     Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 2 of 9

   Necessary                                                  Budget*                                                                        Mid**                                                                    Top Tier***
 Protective Items                  Protects From                 Cost                Example Link               Protects From                Cost               Example Link                 Protects From                Cost              Example Link
                                                                                                                                                                                                                                       https://www.
                                                                               https://www.                                                                                                                          $200-400 for
                                                                                                                                                                                                                                       hardheadveterans.
                              Head contusions from                             sportsmansguide.                                                                                                                     manual impact;
                                                                                                           Larger amounts of force                        https://www.protechelmet. Concussion as well as                              com/collections/tactical-
Helmet                        impact (baton, projectile,        $35-50         com/product/index/raider-
                                                                                                           &/or lighter to wear
                                                                                                                                            $70-150
                                                                                                                                                          com/products.asp?cat=14 contusion; lighter to wear
                                                                                                                                                                                                                    $300-600+ for
                                                                                                                                                                                                                                       helmet-hard-head-
                              or push to pavement)                             journey-open-face-                                                                                                                   ballistic impact
                                                                                                                                                                                                                                       veterans/products/tactical-
                                                                               helmet?a=1917656                                                                                                                        protection
                                                                                                                                                                                                                                       helmet-ate-bump
                                                                               https://www.
                                                                               safetyglassesusa.           Tradeoffs btwn protection
                              Short duration chemical                                                                                                     https://www.
                                                                               com/pyramex-i-force-        from chemical agents or                                                     Chemical agents &                               https://www.
Eye protection                spray, some impact                $10-15
                                                                               safety-goggle-glasses-      ballistic impacts at this
                                                                                                                                            $25-50        safetyglassesusa.
                                                                                                                                                                                       ballistic impacts
                                                                                                                                                                                                                        $100-200
                                                                                                                                                                                                                                       safetyglassesusa.
                              resistance                                                                                                                  com/striketeamsj.html
                                                                               with-black-frame-and-       price point                                                                                                                 com/ee7018-02.html
                                                                               clear-anti-fog-lenses/
                                                                                                                                                          https://www.uline.
                                                                                                                                                          com/Product/Detail/H-
                                                                                                                                                          3393/Reusable-
                                                                                                                                                          Respirators/3M-7502-Half-
                                                                                                                                         $35, plus $30    Face-Respirator-Medium
                              Some short-duration                              https://www.acehardware.                                                                                                             $200-800+, plus    https://www.mirasafety.
                                                                                                                                       cartridges which
                              protection from chemical            $20          com/departments/tools/wo                                                                                Most chemical agents,             $50-80        com/products/cm-6m-
Respiratory protection agents & infectious                  (not reusable)     rkwear-and-safety-
                                                                                                        Some chemical agents              need to be    https://www.uline.
                                                                                                                                                                                       longer duration                replacement      tactical-gas-mask?
                                                                                                                                        replaced every com/Product/Detail/S-
                              aerosols/particulates                            gear/respirators/2302156                                                                                                                 cartridges     variant=16073089843251
                                                                                                                                              ~4h       19185/Reusable-
                                                                                                                                                        Respirators/3M-60923-
                                                                                                                                                        Organic-Vapor-Acid-Gas-
                                                                                                                                                        Cartridge-Filter-Combo-
                                                                                                                                                        P100
                                                                               https://www.
                                                                               sportsmansguide.                                                                                        Trampling, baton impact,                        https://www.galls.
                              Minor incidental injury,                                                   Toe and ankle protection,                        https://www.drmartens.
Boots                         non-slip
                                                                 $40           com/product/index/blackro
                                                                                                         ground impact
                                                                                                                                           $100-150
                                                                                                                                                          com/us/en/p/11822003
                                                                                                                                                                                       shrapnel, short duration        $200-400+       com/thorogood-station-1-
                                                                               ck-men039s-side-zip-                                                                                    fire/flash bang protection                      ems-wildland-boot
                                                                               jungle-boots?a=1916808
                                                                                                                                                                                                                                       https://kaliprotectives.
                                                                               https://www.fleetsafety.
                                                                                                                                                                                                                                       com/collections/armor/pro
                                                                               com/damascus-fp10-
                                                                                                                                                          https://virtuepb.                                                            ducts/strike-elbow-guards-
                                                                               police-riot-gear-imperial-
                                                                                                                                                          com/products/paintball-                                                      1
                                                                               forearm-and-elbow-         Additional coverage and                                                      Higher impact resistance
Wrist & elbow guards          Baton or ground impact             $25
                                                                               protection-two-adjustable- impact resistance
                                                                                                                                              $60         pad-padding-gear-
                                                                                                                                                                                       &/or lighter/more flexible
                                                                                                                                                                                                                        $100-150
                                                                                                                                                          bunkerkings-v2-supreme-                                                      https://www.backcountry.
                                                                               straps-forearm-protection-
                                                                                                                                                          elbow-pads                                                                   com/demon-united-
                                                                               from-wrist-to-elbow-hard-
                                                                                                                                                                                                                                       flexmeter-wrist-guard-
                                                                               shell-plastic-inserts/
                                                                                                                                                                                                                                       double?s=a
                                                                               https://www.motosport.
                                                                                                                                                                                                                                       https://www.bohnarmor.
Knee pads /                                                                    com/thor-2020-sector-
                                                                                                           Additional coverage and                        https://www.grainger.                                                        com/product/all-season-
                              Dragging & ground impact           $15           knee-guards?                                                   $60                                      Full leg protection              $150-300
leg protection                                                                                             impact resistance                              com/product/6UZE3                                                            adventure-armored-riding-
                                                                               variant=TRO00BZ-X001-
                                                                                                                                                                                                                                       pants
                                                                               Y001
                                                                                                                                                          https://wolfcreekdepot.
                              Blunt force from baton,                          https://www.motosport.      Addl impact protection                                                                                                      https://safelifedefense.
                                                                                                                                                          com/products/kr2dm-
Torso protection              punching, kicking, bike           $50-70         com/fly-racing-2020-        +possibly rubber                $100-200
                                                                                                                                                          dcp2000?
                                                                                                                                                                                       Full armor                       $300-800       com/product/multi-threat-
                              assault                                          barricade-pullover-vest     bullet/shrapnel                                                                                                             vest
                                                                                                                                                          variant=34325364113453
                                                                                                                                                                                                                                       https://www.amazon.
                                                                   $2                                                                                                                                                                  com/Howard-Leight-
                                                                 (note -                                                                                                                                                               Amplification-Electronic-
                                                                               https://www.magidglove.                                                    https://www.amazon.
                                                              disposable                                                                                                                                                               R-
                                                                               com/Howard-Leight-          Some protection from                           com/Macks-Pillow-Soft-                                          $70+
                              Attenuation of general       foam will absorb                                                                                                      Explosive &/or extended                               01526/dp/B01G8POKMY/
Ear protection                noise                        teargas so while
                                                                               Airsoft-Corded-and-         flash bang grenades &            $10-15        Silicone-
                                                                                                                                                                                 noise protection
                                                                                                                                                                                                                     (earmuffs over
                                                                               Uncorded-Reusable-          acoustic devices                               Earplugs/dp/B00SYEHC6                                         earplugs)
                                                             cheap must                                                                                                                                                                https://www.amazon.
                                                                               Earplugs-AS1RC-1.aspx                                                      4/
                                                            obtain this type                                                                                                                                                           com/SureFire-Defenders-
                                                              in advance)                                                                                                                                                              filtered-Earplugs-
                                                                                                                                                                                                                                       reusable/dp/B004DH0YEI/
                                                                               https://www.galls.                                                                                Heat/flame resistant for
                                                                                                                                                          https://www.                                                                 https://www.magidglove.
                                                                               com/lawpro-lightweight-                                                                           handling gas canisters
                                                                                                                                                          safetyglassesusa.                                                            com/Level-10-Carbonx-
Gloves                        Pepper spray, abrasion            $5-15          multipurpose-duty-gloves? Some impact protection               $25
                                                                                                                                                          com/mechanix-mpt-55-m-
                                                                                                                                                                                 &/or heavy duty impact                 $70-200
                                                                                                                                                                                                                                       Glove-CXGL10pp-
                                                                               PMWTNO=000000000002                                                                               protection eg lacrosse
                                                                                                                                                          pact-gloves-black/                                                           CXGL10010.aspx
                                                                               323&PMSRCH=                                                                                       goalie
                              Protects teeth and jaw                           https://www.                No meaningful                                                                                                               https://gladiatorguards.
                                                                                                                                                                                       Custom for jaw & teeth,
Mouthguard                    from baton, ground                 $30           impactmouthguards.          improvement over budget            $30         Use budget version
                                                                                                                                                                                       roll bar
                                                                                                                                                                                                                        $130-200       com/product/gladiator-
                              impact, punching                                 com/collections/quick-fit   version until custom                                                                                                        high-performance/
                                                                               https://www.homedepot.                                                     https://bulletsafe.                                                          https://bulletsafe.
                              Limited protection from
                                                                               com/p/Firm-Grip-5-ft-Golf- Baton/shoving force &                           com/collections/bulletproof                                                  com/collections/bulletproo
                              low speed airborne                                                                                                                                      Deflects projectiles
Shield                        projectiles and direct
                                                                  $5           Umbrella-in-All-Black-     some protection from               $100         -
                                                                                                                                                                                      including rubber bullets
                                                                                                                                                                                                                          $600         f-
                                                                               38124/204700290            projectiles                                     shields/products/riotready-                                                  shields/products/bulletpro
                              pepper spray
                                                                                                                                                          riot-shield                                                                  of-shield

                                                              $235 -                                                                       $650 -                                                                     $2,150 -
 Approximate Total:
                                                               $300                                                                         $900                                                                      $4,500+

* Budget represents the least costly version that provides any physical protection to the area. In many cases this will not be adequate to prevent injury and in most cases would provide only enough protection to allow the wearer time to flee the area, not to remain at the protest after the first instance of crowd control weapon deployment
** Mid-tier gear is generally protective aside from direct hits/extended contact. This range is not ideal / fully protective from even serious harm, but with luck it can take the injury level down a couple notches most of the time.
*** Top-tier gear is what I would recommend when cost is not a primary concern. The example links are to the low end of the top range and reflects the least expensive version I'm aware of for fully protective items. Generally speaking it is the civilian version of what law enforcement would use to protect themselves against similar threats; however, police are able to obtain it at a lower cost.
              Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 3 of 9



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                                      EXHIBIT B
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     EXHIBITS | 2                                     SMITH LAW, LLC
                                                      4301 NE 4th St. PO Box 2767
                                                      Renton, WA 98059
                                                      Phone: (206) 715-4248
                                                      Fax: (250) 900-2664
                                Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 4 of 9


   Necessary
                                         Budget                                                  Mid                                             Top-Tier
 Protective Items




                                                                  $40                                                  $80                                                $325
Helmet




                                                                                                                             https://www.hardheadveterans.
                    https://www.sierra.com/shackleton-bike-helmet-for- https://bulletsafe.com/collections/riotready-riot-
                                                                                                                             com/collections/tactical-helmet-hard-head-
                    men-and-women~p~852vr/                             gear/products/riotready-riot-helmet
                                                                                                                             veterans/products/mich-helmet-for-sale




                                                                  $17                                                  $50                                                $120
Eye protection




                    https://www.safetyglassesusa.com/pyramex-i-
                                                                      https://www.safetyglassesusa.com/striketeamsj.
                    force-safety-goggle-glasses-with-black-frame-and-                                                        https://www.safetyglassesusa.com/ee7018-02.html
                                                                      html
                    clear-anti-fog-lenses/
                                    Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 5 of 9




                                                                      $20                                              $75                                               $335
Respiratory protection




                         https://www.acehardware.                           https://therespiratorshop.com/product/3m-7502-
                                                                                                                              https://www.mirasafety.com/products/cm-6m-
                         com/departments/tools/workwear-and-safety-         respirator-gas-mask-with-6001-2091-5n11-half-
                                                                                                                              tactical-gas-mask?variant=16073089843251
                         gear/respirators/2302156                           face-mask/




                                                                      $35                                              $150                                              $425
Boots




                         https://www.sportsmansguide.
                                                                                                                              https://www.galls.com/thorogood-station-1-ems-
                         com/product/index/blackrock-men039s-side-zip-      https://www.drmartens.com/us/en/p/11822003
                                                                                                                              wildland-boot
                         jungle-boots?a=1916808
                                   Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 6 of 9




                                                                     $24                                            $60                                                     $135


Wrist & elbow guards




                                                                                                                             https://kaliprotectives.
                       https://www.fleetsafety.com/damascus-fp10-
                                                                                                                             com/collections/armor/products/strike-elbow-
                       police-riot-gear-imperial-forearm-and-elbow-
                                                                            https://virtuepb.com/products/paintball-pad-     guards-1
                       protection-two-adjustable-straps-forearm-
                                                                            padding-gear-bunkerkings-v2-supreme-elbow-pads
                       protection-from-wrist-to-elbow-hard-shell-plastic-
                                                                                                                             https://www.backcountry.com/demon-united-
                       inserts/
                                                                                                                             flexmeter-wrist-guard-double?s=a




                                                                     $14                                            $57                                                     $160
Knee pads /
leg protection




                       https://www.motosport.com/thor-2020-sector-knee-                                                      https://www.bohnarmor.com/product/all-season-
                                                                        https://www.grainger.com/product/6UZE3
                       guards?variant=TRO00BZ-X001-Y001                                                                      adventure-armored-riding-pants
                              Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 7 of 9




                                                                $50                                                $106                                                 $450
Torso protection




                   https://www.motosport.com/fly-racing-2020-         https://wolfcreekdepot.com/products/kr2dm-          https://safelifedefense.com/product/multi-threat-
                   barricade-pullover-vest                            dcp2000?variant=34325364113453                      vest




                                                                $2                                                 $9                                                   $64


Ear protection




                                                                                                                          https://www.amazon.com/Howard-Leight-
                                                                                                                          Amplification-Electronic-R-
                   https://www.magidglove.com/Howard-Leight-
                                                                  https://www.amazon.com/Macks-Pillow-Soft-               01526/dp/B01G8POKMY/
                   Airsoft-Corded-and-Uncorded-Reusable-Earplugs-
                                                                  Silicone-Earplugs/dp/B00SYEHC64/
                   AS1RC-1.aspx
                                                                                                                          https://www.amazon.com/SureFire-Defenders-
                                                                                                                          filtered-Earplugs-reusable/dp/B004DH0YEI/
                        Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 8 of 9




                                                         $15                                            $25                                                  $70
Gloves




             https://www.galls.com/lawpro-lightweight-         https://www.safetyglassesusa.com/mechanix-mpt-   https://www.magidglove.com/Level-10-Carbonx-
             multipurpose-duty-gloves                          55-m-pact-gloves-black/                          Glove-CXGL10pp-CXGL10010.aspx




                                                                                                        $29                                                  $130
Mouthguard




                                                                                                                https://gladiatorguards.com/product/gladiator-high-
             https://www.impactmouthguards.com/collections/quick-fit
                                                                                                                performance/
                                Case 2:20-cv-01174-RSM Document 1-1 Filed 08/03/20 Page 9 of 9




                                                                 $5                                                $105                                                     $600
Shield




                     https://www.homedepot.com/p/Firm-Grip-5-ft-Golf- https://www.uspatriottactical.com/rothco-police-    https://bulletsafe.com/collections/bulletproof-
                     Umbrella-in-All-Black-38124/204700290            anti-riot-shield---polycarbonate-blank/1998.html    shields/products/bulletproof-shield
Approximate Total:                        $251                                               $746                                              $2,814
